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 6                          IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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     DAVID FABBRINI,                         )
 9                                           )    2:07-cv-1099-GEB-CMK
                              Plaintiff,     )
10                                           )
                       v.                    )    ORDER CONTINUING STATUS
11                                           )    (PRETRIAL SCHEDULING)
     CITY OF DUNSMUIR; JOHN FISHER;          )    CONFERENCE
12   BILL SANFORD, KEITH ANDERSON;           )
     and DOES 1 through 10, inclusive,       )
13                                           )
                              Defendants.    )
14                                           )
15                Since the parties failed to timely file a status report as
16   required by the June 8, 2007 Order Setting Status (Pretrial
17   Scheduling) Conference, the status conference currently set for
18   September 17, 2007 is rescheduled to commence at 9:00 a.m. on November
19   26, 2007.1    The parties shall file a joint status report no later than
20   fourteen days prior to the status conference.
21                IT IS SO ORDERED.
22   Dated:   September 6, 2007
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                                        GARLAND E. BURRELL, JR.
25                                      United States District Judge

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28   1    The parties are warned that, in the future, such a failure
     could result in the imposition of sanctions.

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